 Case 14-44153   Doc 43    Filed 03/19/18 Entered 03/19/18 09:39:26   Desc Main
                             Document     Page 1 of 1

                    UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MINNESOTA

In Re:

Jeffrey Dennis DeHaan                                NOTICE OF APPEARANCE
                                                    AND REQUEST FOR NOTICE

                          Debtors

Chapter 13, Case No. 14-44153 (RJK)
----------------------------------------------------------------

     Pursuant to Bankruptcy Rules 9010(b) and 2002(g) and Local
Rule 2002-5, the undersigned hereby notes an appearance on
behalf of:
                        Fay Servicing LLC,

a creditor in the above case, and requests all parties in
interest to serve copies of all notices and all papers
(including pleadings, motions, applications, orders, financial
and other reports) except for motions for relief from the
automatic stay brought by secured creditors to pursue collateral
in which we do not have any recorded interest, served or filed
in this case upon the undersigned at the office address and
telephone number set forth below.

                 Fay Servicing LLC
                 c/o USSET, WEINGARDEN & LIEBO, P.L.L.P
                 4500 Park Glen Road, Suite 300
                 St. Louis Park, MN 55416
                 (952) 925-6888

Dated:   March 19, 2018

                               USSET, WEINGARDEN & LIEBO, P.L.L.P

                               By:   /E/Kevin T. Dobie
                                     Kevin T. Dobie, #388322
                                     Attorney for Movant
                                     4500 Park Glen Road, #300
                                     Minneapolis, MN 55416
                                     (952) 925-6888
